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                  UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF ALABAMA
                                Debra P. Hackett, Clerk
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                                    OFFICE OF THE CLERK
                             1 CHURCH ST, MONTGOMERY, AL 36104

                                            July 28, 2021

In re: Turner, et al. v. Allstate Ins. Co., 2:13-cv-685-ECM

Dear Mr. Garrison, Mr. Murdock, Mr. Pearl, and Mr. Fenton:

       I have been contacted by Chief Judge Marks who presided over the above-mentioned case,
closed on September 30, 2020.

        Chief Judge Marks informed me that it has been brought to her attention that during 2019,
while she presided over this case, in a managed account, she owned fewer than ten (10) shares in The
Allstate Corporation. Her ownership of stock neither affected nor impacted her decisions in this case.
Moreover, she has since divested herself of any Allstate Corporation stock. However, her stock
ownership would have required recusal under the Code of Conduct for United States Judges, and thus,
Chief Judge Marks directed that I notify the parties of the conflict.

        Advisory Opinion 71, from the Judicial Conference Code of Conduct Committee, provides
the following guidance for addressing disqualification that is not discovered until after a judge has
participated in a case:

               [A] judge should disclose to the parties the facts bearing on
               disqualification as soon as those facts are learned, even though that may
               occur after entry of the decision. The parties may then determine what
               relief they may seek and a court (without the disqualified judge) will
               decide the legal consequence, if any, arising from the participation of
               the disqualified judge in the entered decision.

       Although Advisory Opinion 71 contemplated disqualification after a Court of Appeals oral
argument, the Committee explained “[s]imilar considerations would apply when a judgment was
entered in a district court by a judge and it is later learned that the judge was disqualified.”

        With Advisory Opinion 71 in mind, you are invited to respond to Chief Judge Marks’
disclosure of a conflict in this case. Should you wish to respond, please submit your response on or
before August 4, 2021. Any response will be considered by another judge of this court without the
participation of Chief Judge Marks.

                                      Sincerely,
                                      /s/ Debra Hackett
                                      Clerk of Court
